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 EXHIBIT 1: LETTERS IN SUPPORT OF KEVIN SEEFRIED
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July 28, 2022
Subject: Character Reference


To Whom It May Concern:


I have known Kevin Seefried for over 30 years. He has been a good friend, good husband, good father,
and grandfather thru the years that I have known him.

We may go weeks or months of not hearing from one another because of us being busy working for
our families. But he has always been a phone call away if I needed help working on anything and same
goes for him to call me.

We have hung around on and off since we were young, we have hunted together and at one point he
and his family were members of the same family-oriented hunting club that I am Vice President of.,
The Sussex County Coon Hunting Association.

While they were members of the Club, he and his family donated their time helping out with the
events and in the kitchen as well as contributed donations, especially to our Alfred I DuPont/
Nemours Children Hospital benefit we have yearly.

Kevin over all is a committed hard working good person even working to provide for his family while
fighting cancer a few years ago.

Despite the current circumstances. I know as his friend Kevin is remorseful in in actions that day in
Washington and we definitely all make mistakes and I truly feel if given the opportunity he would go
back and change his decision that day.

I sincerely hope the court takes this letter in consideration at the time of his sentencing to show he is
a good decent hard-working human being .

Thank You,

James Nichols
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 My name is elysia seefried I am writing this letter for my dad Kevin seefried. I never thought I would be
writing a letter to a judge to prove my dad is a good person but here we are. He didn’t have a really
good childhood, his dad beat the crap out of him and treated him very poorly. He didn’t let that effect
the way he treated his children, he’s definitely made mistakes but he’s always provided for us and been
there for us. He has helped raise my brothers two girls since they were born, he brought them out of a
bad situation and gave them a better home. It takes a good man to raise someone else’s children since
majority of people don’t raise there own kids these days. I have a 3 year old son who he is very close
with as well, he gets him every weekend and has a big impact on my sons life and I’m dreading the
thought of having to look at his little face and tell him that is pop pop is not going to be around for a
while. My son is also bi racial so this narrative that my dad is a racist is just not true, my sons father has
been to my dads house for Thanksgiving, Christmas and many other occasions and my dad has always
treated him with respect and he adores his grandson more than life itself. I don’t think a racist person
would have a black man in his home with open arms the way my dad does. My dad will miss so much of
my sons life but it seems like nobody cares about the family they are destroying. My dad has now lost
his wife of almost 30 years because of all this, he might lose his house and everything he has worked his
whole life for. I’m afraid he’s going to die from a stroke dealing with all of this stress. I’m not saying what
he did wasn’t wrong but he definitely doesn’t deserve jail time he didn’t hurt anyone. So he’s losing
family and his freedom for standing in a building for 10 minutes that seems a little crazy to me. I know
for a fact if we could go back in time he would have never went to that dumb rally, he’s never been to
one his whole life. Whatever happens he will always have his kids to support him and we will always
have his back just like he’s had ours, we are a tough family and we have been through a lot and we love
each other no matter what and that will never change.
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Dear Judge McFadden:

My name is Nicholas Minner and Kevin Seefried has been my neighbor for 10 years. Kevin and I
started our friendship over similar interest in fixing and restoring older vehicles. Kevin has lent a
helping hand on numerous occasions to help me problem solve and work on projects. Kevin
has lent me equipment or tools from his garage without hesitation. Kevin has always been
respectful to my family and friends. I have also watched him interact with his own family and
have only ever witnessed his kind nature and love for him son and family. I admire his
dedication to his family through working hard and making sure his house and property are
taken care of. I feel comfortable to stop at his house at any time to ask him for helping hand or
just to talk. Kevin has expressed remorse for the events on January 6th 2021. Kevin has ambition
and plans to avoid future violations by continuing to take care of his family and neighbors by
dedication, hard work, and kindness.

Thank you for your time,

Nicholas Minner
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